Case 2:18-cv-02101-PKH Document 1 Filed 06/08/18 Page 1 of 6 Page|D #: 1

IN THE UNITED STATES DISTRICT COURT FOR THE WESL;§:£[I`*]S`?R]CT
WESTERN DISTRICT oF ARKANSAS DIsT COURT
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BRIAN HERZIG and ) 0
NEAL MARTIN ) °°P~Iyq,,k ’Clerk
)
)
Plaintiffs, ) Civil Action No.: \Z' l \O \
)
v. )
)
ARKANSAS FOUNDATION )
FOR MEDICAL CARE, INC. )
)
Defendant. )

 

COMPLAINT

COMES NOW the Plaintiffs’, Brian Herzig and Neal Martin, by and through their
attorneys, Gilker and Jones, P.A., and for their complaint states as follows:
1. Plaintiff Brian Herzig is a resident of Crawford County, Arkansas.
2. Plaintiff Neal Martin is a resident of Sebastian County, Arkansas.
3. Defendant Arkansas Foundation for Medical Care, Inc. (“AFMC”) is an Arkansas
corporation having a place of business at 5111 Rogers Avenue Suite 476 Fort Smith,

Arkansas 72903 where the Plaintiffs were assigned

Case 2:18-cv-02101-PKH Document 1 Filed 06/08/18 Page 2 of 6 Page|D #: 2

4. Jurisdiction over the causes of action stated herein is vested in this Court by 42 U.S.C.
§ 2000e-5. Venue is proper: Plaintiffs were employed in Sebastian County, Arkansas, and

AFMC has a place of business in Sebastian County, Arkansas.

Facts

5. Plaintiff Brian Herzig (“Herzig”), was a full-time employee of AFMC between July 5,
2005, and April 4, 2017. Plaintiff Herzig was employed as Director, Information
Technology at AFMC in Fort Smith, Arkansas on the date of his termination.

6. Plaintiff Neal Martin (“Martin”), was a full-time employee between July 26, 2010 and
April 4, 2017. Martin was employed as Assistant Director, Information Technology at
AFMC in Fort Smith, Arkansas on the date of his tennination.

7. On April 4, 2017 Chief Technology Officer, Nathan Ray, terminated the Plaintiffs by
separate letters citing the identical reason for termination “violation of AFMC policies by
among other things, providing false and misleading information, gross negligence in the
performance of your duties, engaging in conduct detriment to AFMC.” Nathan Ray was
under 30 years of age.

8. Plaintiffs state that reasons cited for their respective terminations are false and represent a
pretext to hide the real reason for their respective terminations which was their protected

status based on their age.

Case 2:18-cv-02101-PKH Document 1 Filed 06/08/18 Page 3 of 6 Page|D #: 3

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Nathan Ray told both Plaintiffs that their termination was the result of a Security Breach
for which he held them responsible. Plaintiffs’ deny a Security Breach occurred as a result
of their work.

Plaintiffs contend that a Security Breach would not have occurred if younger employees in
AFMC’s Business lntelligence Group, under the overall supervision of Nathan Ray, had
properly assigned security permissions for users. This represented a serious failure but
these younger employees in the Business lntelligence group were not terminated or
disciplined.

Prior to the discharge of the Plaintiffs Nathan Ray during a conversation told Brian Herzig
that AFMC was looking to hire college graduates at the Fort Smith office.

Plaintiffs’ Brian Herzig and Neal Martin filed charges of discrimination with Equal
Employment Opportunity Commission alleging they were terminated due to their age at
the time of their discharge 44 and 41 respectively. Plaintiffs’ received right to sue letters
on or about March 19, 2018 which are attached and incorporated in this complaint as

(“Exhibit 1”).

Count I: Violation of the Age Discrimination in Employment Act

Plaintiffs Brian Herzig and Neal Martin were employees of AFMC within the meaning of

the Age Discrimination in Employment Act (29 U.S.C.A. § 621, et seq.), and protected

against discrimination in employment on the basis of their respective ages, 44 and 4l.

Case 2:18-cv-02101-PKH Document 1 Filed 06/08/18 Page 4 of 6 Page|D #: 4

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Defendant was an employer within the meaning of the Age Discrimination in Employment
Act (29 U.S.C.A. § 621, et seq.), and as such was prohibited from making adverse
employment decisions on the basis of Plaintiffs’ age.

Defendant and its employees and agents engaged in a discriminatory course of conduct
which involved singling out the Plaintiffs for termination while protecting younger
employees who by their actions created the alleged security breach.

On April 4, 2014 the Plaintiffs were terminated by Defendant in violation of the Age
Discrimination in Employment Act.

The Plaintiffs filed timely charges of age discrimination with the Equal Employment
Opportunity Commission and received a notice of right to sue on or about March 19, 2018,
permitting Plaintiffs to bring this action. Plaintiffs have exhausted all available and
required administrative remedies prior to filing this action.

As a proximate result of Defendant’s acts of age discrimination, Plaintiffs have suffered
and continue to suffer substantial losses, including past and future earnings, bonuses,
deferred compensation, other employment benefits, plus expenses and attorneys' fees
incurred in attempting to obtain the benefits due them under the above stated employment
with Defendant.

As a result of Defendant’s willfully discriminatory acts as alleged herein, Plaintiffs are

entitled to liquidated damages, pursuant to 29 U.S.C.A. § 626(b).

Case 2:18-cv-02101-PKH Document 1 Filed 06/08/18 Page 5 of 6 Page|D #: 5

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20. Plaintiff respectfully demands a jury trial on all issues so triable.

Prayer for Relief

WHEREFORE, Plaintiffs prays the Court for judgment against Defendant Arkansas
Foundation for Medical Care, Inc. for back pay, compensatory damages, bonuses, deferred
compensation, and other benefits to which they are entitled, punitive damages, costs, and attorneys
fees; and any and all other relief to which Plaintiff may be entitled. under Title Vll of the Civil
Rights Act of 1964, 42 U.S.C. § 2000e, et seq., and the Age Discrimination in Employment Act,
29 U.S.C.A. § 621, et seq.

WHEREFORE, Plaintiffs request that:

A. Plaintiffs be reinstated to Plaintiffs former position, or one comparable; that
Plaintiff be made whole, with back pay and afforded all benefits that would have
been afforded Plaintiff but for said discrimination; and

B. A permanent injunction be issued enjoining Defendant, and their agents,
employees, officers, and successors in interest, and those acting in concert with
them, from engaging in the illegal and unlawful customs, policies, and practices

described herein;

Case 2:18-cv-02101-PKH Document 1 Filed 06/08/18 Page 6 of 6 Page|D #: 6

C. That liability be imposed upon the Defendant, including liquidated damages as a
result of the discriminatory acts of Defendant herein alleged;

D. That Plaintiffs be compensated for their damages in an amount exceeding the
minimum amount necessary for federal jurisdiction in diversity cases;

E. And such other and further relief to which Plaintiffs are entitled, including the costs
of suit, including reasonable attorneys' fees and any other relief available under the
law.

Respectfully Submitted,
BRIAN HERZIG

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